         Case 2:12-cv-00182-BSM Document 28 Filed 06/11/13 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                              EASTERN DIVISION

KAPONO TARPY,                                                                 PLAINTIFF
Reg #19187-075

v.                                CASE NO. 2:12CV00182 BSM

USA et al.                                                                DEFENDANTS

                                             ORDER

       The proposed findings and recommended disposition submitted by United States

Magistrate Judge Joe J. Volpe and plaintiff’s objections have been reviewed. After carefully

considering the objections and making a de novo review of the record, it is concluded that

the proposed findings and recommended disposition should be, and hereby are, approved and

adopted in their entirety in all respects.

       IT IS THEREFORE ORDERED that:

       1.     Defendants’ motion for summary judgment [Doc. No. 21] is GRANTED.

       2.     The complaint [Doc. No. 2] is DISMISSED without prejudice for failure to

exhaust administrative remedies.

       3.     It is further certified, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma

pauperis appeal from the order adopting this recommendation and the accompanying

judgment would not be taken in good faith.

       DATED this 11th day of June 2013.



                                                     UNITED STATES DISTRICT JUDGE
